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                                                        288590
            2                                                       TED
                   5080 California Avenue, Suite 340
            J^     Bakersfield, CA 93309
                   T           661-716-3000
            4                                                       mnilsson@,dowlingaaron.com
            5
                   Attorney for Plaintiff, COREY MITCHELL
            6

            7

             8
                                                UNITED STATES DISTRICT COURT
            9
                                         FOR THE EASTERN DISTRICT OF CALIFORNIA
           10

           t1       COREY MITCHELL                                           Case No. I : I 3-cv-01 324-DAD-EPG


           t2                              Plaintiff,                        DECLARATION OX'DANIEL O. JAMISON
                                                                             IN SUPPORT OF MOTION FOR
           13       v                                                        ATTORNEY'S F'EES

           t4       CHAVEZ, ET AL
           15                              Defendants.

           t6
                                                                             Judge: Hon. Dale A. Drozd
           t7
            18             DANIEL O. JAMISON DECLARES:
            t9             1.     I am an attomey at law and am a member of the Bar of this Court. I am employed
           20      with Dowling Aaron Incorporated, attomeys of record for Plaintiff Corey Mitchell. I have
           2t      personal knowledge of the matters stated herein and if called as a witness, I am competent to

           22      testiff to these matters. Attached hereto as Exhibit A is a true and correct copy of my curriculum

           23      vitae, current as of August30,20l7

           24              2.     I have reviewed Mr. Thomas's declaration and the time and expense records, both

           25      before and after redaction. I have deleted or shown NO CHARGE for my time where it was felt

           26      to involve non-billable training.

           27

           28

DOWLINGIAARON           DECLARATION OF DANIEL O. JAMISON IN SI]PPORT OF MOTION FOR ATTORNEY'S FEES
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                1             3.     I have monitored the work of Mr. Nilsson and Mr. Thomas throughout the case. I
                2     believe the time records reflect work and expenses that were reasonable and necessary to obtain

                J     the result that was obtained in this case.

                4             4.     I have practiced law in Fresno for 39 years, with the majority of my experience
                5     having consisted of civil litigation, which litigation practice for at least the last 17 years has

                6     mainly consisted of complex business and healthcare litigation. Within about the last twelve
                7     years, I have represented at least one litigant who contested the adverse party's motion for

                8     attorney fees, brought multiple successful motions for attorney fees, and successfully handled the

                9     appeal of at least two attorney fee awards. From this experience, as well as from the experience

            10        of others in Dowling Aaron Incorporated's Litigation Department, I have been and am familiar
            11        with attomey fee hourly rates generally charged in the Fresno community for legal services
            T2        comparable to those that my firm and I have provided in connection with the above captioned

            13        case. For my experience and qualifications, the hourly rates of $380 and $395 for me, are at

            l4        least comparable to what other comparable Fresno area attorneys charge for such services and

            15        are probably somewhat lower. The rates shown on the last page of Exhibit J to the Thomas

            16        Declaration for Mr. Nilsson and Mr. Thomas are also comparable to hourly rates charged by

            t7        other Fresno aÍea attorneys with their level of experience, expertise, and qualifications for such

            18        services. My hourly rates, and those for Mr. Nilsson and Mr. Thomas, in my opinion, are fair and

            t9        reasonable for the Fresno community. The amalgamated rate of $198 per hour for the three

            20        attorneys is well within the reasonable hourly rate range for the Fresno region and is probably at

            2t        the low end of that range, if not below it.

            22                5.      The hourly rate shown for Paralegal Ms. Burnett also is comparable to rates

            23        charged for paralegals in the Fresno community for paralegals with her level of experience and

            24        qualifications. In my opinion, her rates are fair and reasonable for the Fresno community.

            25                I declare under penalty of perjury that the foregoing is true and correct.

            26        Executed this 9ú day ofJanuary,2017.

            27
                                                                     /s/ Daniel O. Jamison
            28                                                       DANIEL O. JAMISON
                         DECLARATION OF DANIEL O. JAMISON IN STJPPORT OF MOTION T'OR ATTORNEY'S FEES
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DOWLINGIAARON                                                           2
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                                                            PROOF OF SERVICE
                2
                      STATE OF CALIFORNIA               )
                J                                               SS
                                                        )
                      COUNTY OF FRESNO                  )
                4
                             I am a citizen of the United States and a resident of the County aforesaid; I am over the
                5     age of eighteen (18) years and not a party to the within-entitled action. My business address is
                      Dowling Aaron Incorporated, 5080 California Avenue, Suite 340, Bakersfield, Ca 93309. On
                6     January 9,2018,I served the within document(s)
                7            DECLARATION OF'DANIEL O. JAMISON IN SUPPORT OF'MOTION FOR
                                                 ATTORNEY'S F'EES
                8

                9
                      X        By ELECTRoNIC cM/EcF SYSTEM: I hereby certi$ that on January 9,2018,I
                               electronically filed the following document with the Clerk of the Court by using the
                               CMÆCF system:
            10
                      Gabrielle De Santis Nield                               Michael Anthony Terhorst
            11
                      Edgar R. Nield                                          BEESON TERHORST, LLP
            I2        NIELD LAW GROUP, APC                                    510 Bercut Drive, Suite V
                      Westlake Professional Center                            Sacramento, CA 9581 1-01 1 I
            13        679 Encinitas Blvd, Suite 201                           For Defendant Sgt. Sheldon
                      Encinitas, CA92024
            14
                      For Defendant Chavez
            l5
            l6        X        X'EDERAL: I declare under penalty of perjury under the laws of the State of Califomia
                      that the foregoing is true and correct.
            l7
            18                I declare that I am employed in the offrce of a member of the bar of this court at whose
                      direction the service was made.
            t9
                      Executed on January 9,2018, at Bakersfield, California.
            20

            2T                                                        /s/ Rhonda Sandidse
                                                                      Rhonda Sandidge
            22

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                          DECLARATION OF DA¡{IEL O. JAMISON IN STJPPORT OF MOTION FOR ATTORNEY'S FEES
                                                                1:13-cv-01 324.DAD-EPG
DOWLINGIAARON                                                             J
